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                    UNITED STATES COURT OF APPEALS                        FILED
                           FOR THE NINTH CIRCUIT                          MAR 30 2023
                                                                      MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
UNITED STATES OF AMERICA,                       No.      21-50048

                Plaintiff-Appellee,             D.C. No.
                                                2:19-cr-00642-VAP-1
 v.                                             Central District of California,
                                                Los Angeles
IMAAD SHAH ZUBERI,
                                                ORDER
                Defendant-Appellant.


UNITED STATES OF AMERICA,                       No.      21-50084

                Plaintiff-Appellee,             D.C. Nos.
                                                2:20-cr-00155-VAP-1
 v.                                             2:20-cr-00155-VAP

IMAAD SHAH ZUBERI,

                Defendant-Appellant.

      The Court’s September 28, 2022 order granted leave to appellant to file two

separate opening briefs in these consolidated appeals.

      On January 20, 2023, appellant’s newly retained counsel submitted an

opening brief and excerpts of record for public filing, challenging the guilty pleas

entered below based on an alleged potential conflict of interest involving retained

trial counsel, who continues to represent appellant in these appeals with respect to

his sentencing issues.
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       On March 11, 2023, appellant’s original counsel filed with the Classified

Information Security (CIS) Office at the Department of Justice the classified

opening brief and excerpts of record challenging the sentences in these proceedings

on entirely different grounds.

       The opening briefs in these consolidated appeals were due January 3, 2023.

Due to a clerical oversight, appellant’s timely motion for extension of time at DE

57 was not addressed, and the public brief was timely submitted within the new

deadline requested by that motion. Appellant’s subsequent motion at DE 63 for

leave to file a late classified brief was not resolved because the brief was not ready

to be filed at that time. In light of the technical and logistical issues relating to the

preparation of the classified brief and excerpts, the Court allows the additional time

that was required to submit the brief to the CIS Office on March 11, 2023, and

both opening briefs are deemed timely submitted. The motions at DE 57 and 63 are

therefore denied as unnecessary.

       Appellant’s motion for judicial notice (DE 58) is referred to the merits panel.

Appellee’s motion for extension of time to file the answering brief (DE 66) is

granted.

       Appellant has filed a motion pursuant to 9th Cir. R. 32-2(a) (DE 67) for leave

to file a classified opening brief containing 19,864 words, which when combined




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with the separately filed public brief of 4,270 words, exceeds by 10,134 words the

14,000-word limit set forth in 9th Cir. R. 32-1(a).

      In light of the unusual nature of these proceedings, in which one brief is

entirely based on an alleged conflict of interest involving the attorney filing the

other brief, and the other brief is entirely based on classified material not available

to the other attorney, and the diligence of both attorneys, the motion is granted in

part and denied in part. See 9th Cir. R. 32-2 (“Except in capital cases, such motions

will be granted only upon a showing of diligence and extraordinary and compelling

need, such as in a multi-defendant criminal case involving a lengthy trial.”). See

also Circuit Advisory Committee Note to Rule 32-2 (“In almost all cases, the limits

provided suffice even for multiple or complex issues. Most overlength briefs could

be shorter and unnecessarily burden the Court.”).

      The brief submitted to the CIS Officer on March 11, 2023 is ordered

stricken. On or before April 28, 2023 at Noon PDT, appellant shall submit to the

CIS Officer a classified opening brief containing no more than 16,500 words. On

the same date, appellant shall submit for public filing, using the opening brief

filing event, an unclassified cover page of the opening brief, with the certificate of

compliance attached, and the complete addendum, which is not classified.

Appellant shall also on that date submit for public filing, using the excerpts of

record filing event, unclassified cover pages of all volumes of the classified


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excerpts of record, including the Index Volume. The publicly submitted cover

pages of the brief and excerpts shall contain in the caption the words “Classified

Opening Brief” or “Classified Excerpts of Record.”

         The answering brief is now due June 28, 2023. Appellee shall file a public

answering brief addressing the publicly filed opening brief and a classified

answering brief addressing the classified opening brief.

         In light of this order allowing additional words for the opening briefs,

appellee may exceed the usual word limit without the need to seek permission if

the combined total of both answering briefs does not exceed 18,000 words.

         The optional reply briefs are due 21 days after service of the answering

brief.




                                                    FOR THE COURT:

                                                    MOLLY C. DWYER
                                                    CLERK OF COURT


                                                    By: Susan V. Gelmis
                                                    Chief Deputy Clerk
                                                    Ninth Circuit Rule 27-7


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